Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 1of30 Pageid#: 5

VIRGINIA: IN THE CIRCUIT COURT OF ROCKINGHAM COUNTY

PATRICK MULLINS,
d/b/a Mullins Enterprises,
d/b/a MyWoodPhoto,
Plaintiff,
Vv. Case No. CFG -AIN
VISITURE, LLC,
Serve: Brian Cohen, Registered Agent
Visiture, LLC
1001 Jamsie Cove Dr.
Charleston, SC 29412
Defendant.

COMPLAINT

Plaintiff Patrick Mullins, d/b/a Mullins Enterprises, d/b/a MyWoodPhoto, (“Mullins”), by

counsel, moves for judgment against Defendant Visiture, LLC (‘“Visiture”) on the following

grounds:

1, Mullins prints and sells personalized images on wood products through Etsy.com.
Mullins’ products are identified under the trade name “MyWoodPhoto.”

2. Mullins is based in Rockingham County, Virginia, and has a production facility in
Grottoes, Virginia,

3. Mullins desired to leave the Etsy.com platform and form his own website for sales

directly to consumers.

4, The new website would allow Mullins to grow his business, decrease production.

problems, and avoid fees associated with selling through Etsy.com.

]

EX YE BET 4

 
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 2 of 30 Pageid#: 6

2 Mullins interviewed around 15-20 web development companies, including
ExpandLab, LLC (“ExpandLab”).
6. Visiture is the successor in interest to ExpandLab via acquisition or merger.
7. Visiture conducts substantial business activity in Virginia, contracted to supply
services and things to Mullins in Rockingham County, and this cause of action arises out of
Visiture’s contacts with this forum.
g, Mullins required a complete website, including an e-commerce platform and the
ability for customers to upload their chosen image onto his wood products, size and place the
image, and preview the final product before ordering.
9, This “uploader” feature would allow for automatic sizing of the image and
efficient printing based on the customer’s preference of size and location, because the resized or
edited photo could be sent directly to the printer for production. This feature would also
eliminate the need for Mullins to manually resize the image, which would cut down on reprints
and increase the speed of fulfilling orders and the number of products Mullins would be able to
sell.
10. The e-commerce platform of Mullins’ desired website would eliminate fees
associated. with Etsy and would open up new business opportunities for Mullins that are not
available by remaining on the Etsy platform, including with Groupon.
11. In his meetings with web developers, Mullins explained the functionality he
required for the new website, including the uploader feature.
12. Mullins had approximately 50-60 conversations with Dennis Ngin, COO of
ExpandLab and now COO of Visiture. These conversations took place while Mullins was located

in Virginia.
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 3 of 30 Pageid#: 7

13. Mullins told Ngin of the website’s requirements, including the uploader feature.
Ngin and other ExpandLab employees told Mullins that the website he required was “easy to do”
and they held themselves out as having a close relationship with other major companies,
14. Based on these representations, Mullins entered into a contract with ExpandLah to
develop the website.
15. On December 22, 2017, Mullins signed a Master Services Agreement (“MSA”)
and Statement of Work (“SOW”) with ExpandLab. Ngin signed on behalf of ExpandLab. True
copies of the MSA and SOW are attached hereto as Exhibits A and B.
16. The MSA states that in the event of a conflict between the terms of the two
documents, the SOW controls. (MSA § II(A)).
17. Consistent with Ngin’s representations to Mullins, the MSA included the
following express representations and warranties:
ExpandLab has the experience and skills to perform the Services
and create the Work Product with a high standard of quality and in a
workmanlike and professional manner, in accordance with industry
standards. (MSA § VI(C)(a)).
All Services and Work Product furnished by ExpandLab will be in
conformance with any written performance criteria agreed upon by

both Parties, including but not limited to any executed SOW. (MSA §
VI(C)(b)).

ExpandLab shall not outsource or subcontract to any other Party any
of its Services for Client under this Agreement without Client’s prior
written consent. (MSA § VI(C)(g)).
18. The SOW confirmed Mullins’ requirements for certain features that he had

discussed with Ngin, including the uploader feature he had specifically requested.
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 4 of 30 Pageid#: 8

19. The SOW confirmed that the following “Products” and “Transactional Features”
would be delivered to Mullins: “when a customer uploads a photo for editing; have the original
photo and edited photo available for production.” (SOW at p. 5).

20. The SOW required that the launch of the new website, to include the uploader
feature, would occur within “2-4 months from signing” of the SOW on December 22, 2017, so
by approximately February to April 2018.

21. The MSA defined “Confidential Information” to include Mullins’ plans to grow
his business, the terms of the MSA, information regarding products or plans for products, and
similar information. (MSA § I(C)), The MSA provided that Confidential Information could not
be used or disclosed with Mullins’ written authorization. (MSA § V).

22.  Visiture acquired or merged with ExpandLab in or around February 2018.

23. Nein became COO of Visiture, and the creative team and other employees of
Expand.ab began working for Visiture.

24, Visiture also assumed, affirmed, and ratified the MSA and SOW with Mullins,
and began performing the development work required under those contracts for Mullins.

25,  Visiture is a mere continuation of, or de facto merger with, ExpandLab. There is a
continuity of executives and employees and the same business has been continued.

26. After Visiture acquired or merged with ExpandLab in February 2018, Mullins had
weekly development meetings with Visiture employees beginning in August 2018 over the phone
and by video conference. These meetings occurred while Mullins was located in Virginia.

27. The SOW required completion of the new website by April 2018. Around that

time, Ngin informed Mullins that the new website would be delayed to August 2018.
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 5of30 Pageid#: 9

 

28.  Visiture has not completed the website, It has been more than a year since the
completion date required by the SOW.

29. On April 29, 2019, Ngin informed Mullins by e-mail that “producing a web-
photo-edited file available for print isn’t possible for your print application.”

30. In reference to this feature, Ryan Jones, Visiture’s Vice President of Operations,
informed Mullins, “we sell the job and then ... figure it out.”

31. A fundamental requirement of the new website, as Mullins had explained to Ngin
before contracting with ExpandLab, was to allow customers to upload their own photos, see their
photo on a template of the wood product on which they wanted the photo printed, be able to
resize and adjust the placement of the photo, and have the final, edited image available to
Mullins in the size needed for production.

32. The failure to deliver the website on time and the failure to deliver the website
with the uploader feature is a breach of the MSA and SOW.

33, | Ngin also informed Mullins that Visiture had contacted third parties, including
Mullins’ competitor, to discuss the uploader function.

34, The disenssion of Mullins and his plans for a new website and business is a
breach of the confidentiality provisions of Sections I(C) and V of the MSA.

35, Upon information and belief, Visiture subcontracted the work it was performing
for Mullins to third parties. During a web-based meeting between Mullins and Visiture, Visiture’s
computer screen showed that it was discussing with third party web developers how to build the

uploader feature required by the SOW.
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 6 of 30 Pageid#: 10

36,  Visiture breached the representations and warranties set forth in Sections VI(C)(a)
and (g) of the MSA that it would not outsource or subcontract the work without Mullins’ consent
and that it had the experience and skills to perform the requirements of the parties’ contract.

37, Mullins provided notice of breach and termination. Visiture did not cure the
breach and cannot cure the breach, as it does not have the ability to complete the requirements of
the SOW.

38. Visiture also informed Mullins that it had stopped all development wark,

39.  Visiture is required to deliver all work product and other information relating to
Mullins upon termination of the parties’ contract. (MSA § IV(B)). Visiture has failed to do so.

40. Mullins paid Visiture $65,000. Mullins has also incurred lost business
opportunities and additional fees that it would have avoided if the website had been completed as
scheduled in the approximate amount of $100,000.

41. The MSA provides that Mullins is entitled to recovery of his legal expenses,
including reasonable attorney’s fees, costs, losses, and damages as a result of any allegations,
claims, demands, costs, suits, or actions arising out of or relating to the provision of services or
work product under the MSA. (MSA § VI(A)).

Count I - Breach of Contract

42. Mullins incorporates the above allegations.

43, The MSA and SOW represent a valid and enforceable contract between Mullins
and Visiture.

44,  Visiture breached the MSA and SOW, including by failing to complete the
contract on time, failing to provide the required Products and Transactional Features set forth in

the SOW, disclosing Mullins’ confidential information to third parties, outsourcing or
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 7 of 30 Pageid#: 11

subcontracting the work without Mullins’ written authorization, failing to have the experience
and skills to perform the contract, failing to provide a product with a high standard of quality and
in a workmanlike and professional manner in accordance with industry standards, failing to
deliver the website to Mullins in conformance with the written performance criteria agreed upon
by the parties, including the SOW, and failing to return the work product and information
relating to Mullins.

45. Mullins has been damaged as a result.

WHEREFORE, Plaintiff Patrick Mullins d/b/a Mullins Enterprises, d/b/a My WoodPhoto,
requests entry of judgment against Defendant Visiture, LLC, in the amount of $165,000, plus
legal expenses including attorney’s fees and interest at the judgment rate, and an order requiring
Visiture to return all work product and other information relating te the work performed for

Mullins and MyWoodPhoto, together with such additional relief the Court deems proper.

MF

ANDREW S*“BAUGHER (VSB #74663)
Flora Pettit PC

90 North Main Street, Suite 201

P, O. Box 1287

Harrisonburg, Virginia 22803

Tel: (540) 437-3138

Fax: (540) 437-3101

asb@fplegal.com

Counsel for Plaintiff
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 8 of 30 Pageid#: 12

I certify that a true copy of the foregoing Complaint was sent by mail and e-mail on May
24, 2019 to:

Brian Cohen, Registered Agent
Visiture, LLC

1001 Jamsie Cove Dr.
Charleston, SC 29412

La

Counsel JS Blaintiff

756937
Case 5:19-cv-00052-EKD Document1-1 Filed 07/18/19 Page 9of30 Pageid#: 13

pocuSignh Envelope (D: ABAAS237-60D2-4048-9863-A34 1DB77A59A,

 

MASTER SERVICES AGREEMENT

 

 

 

 

 

    
 

Master Services Agreement - Version 1.0.0

"EXHIBIT :

1 AY

 

 

  
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 10 of 30 Pageid#: 14

poouSign Envelope 1D: ABAA3237-60D2.408.9863.43110677A59A

This Master Services Agreement (“MSA” or “Agreement') is made and entered into as of the Effective
Date, by and between Mullins Enterprises, a company located at 3236 Mountain Farm Road. Elkton,
VA, 22827 ("Client") and ExpandLab, LLC, a company organized under the laws of the State of Georgia
with its principal place of business at 296 14! Street, NW, Atlanta, GA 30318 (‘ExpandLab’) (collectively
the “Parties”, and, individually, a “Party").

Recitals

Whereas, Expandlab offers website development services to clients, including without limitation,
Magento development services for eCommerce websites:

Whereas, Client wishes to engage the eCommerce development services of ExpandLab; and

Whereas, ExpandLab and Client wish to confirm the terms and conditions of their relationship by entering
into this Agreement:

Now, Therefore, for and in consideration of the agreements set forth herein, and other good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as follows:

Definitions
For purposes of this Agreement, the following terms shalt have the meanings set forth below:
A. “Background Technology” shail have the meaning set forth in Section IV of this Agreement.
B. “Changes in Scope” shall have the meaning sat forth in Section !! of this Agreement.

C. “Confidential Information” shall mean (a) the identity, business, or ordering habits or history of
Client's customers, (b) Client's plans to grow its business or its prospective customers, (c)
Client's trade secrets, inventions, computer source and object code; (d) the terms of this
Agreement; (e) information regarding products or plans for products, marketing, budgets, financial
statements, contracts, prices, suppliers, and customers; (f) information regarding the skills and
compensation of Client's employees, and contractors; (g) any business discussions between
Client and any third party; and (h) information related to a third party that is disclosed to Client or
io ExpandLab through Client's business; and (I) any other information that Client treats as
confidential. Confidential Information shall not include information which: (i) is or becomes
publicly available through no act or omission of ExpandLab; (ii) was rightfully in ExpandLab's
possession prior to the disclosure (as evidenced by contemporaneous documentation) and had
not been obtained either directly or indirectly from Client; (lil) is lawfully disclosed to ExpandLab
by a third party without restriction on disclosure; or (iv) is Independently developed by
ExpandLab, without use of any Confidential Information of Client, by persons who had no access

to such Confidential Information.

D. “Effective Date” shail mean the last date on which this Agreement has been executed by both
Parties. ,

E. “Intellectual Property” shall mean any or all of the following: (a) all patents and applications
therefor and all reissues, divisions, renewals, extensions, provisionals, continuations and
continuations-in-part thereof; (b) all inventions (whether patentable or not), invention disclosures,
improvements, proprietary information, technology, data and customer lists, and all
documentation relating to any of the foregoing; (c) all copyrights, copyright registrations and
applications therefor, and all other rights corresponding thereto; (d) all industrial designs and any
registrations and applications therefor: (a) all internet uniform resource locators, domain names,
trade names, logos, slogans, designs, common law trademarks and service marks, trademark
and service mark registrations and applications therefor; (f) all trade secrats and know-how; (g) all
databases and data collections and all rights therein; (h) all moral and economic rights of authors

 

 

ExpandLab, LLG [ 208 14th St. NW, Adanta, GA 30318 | 888-518-0228 | hello@expandiab.com 2a
?

, co ceteeenrmneen CT te
© tee 8 gmore reese tee ett REE A

 
pocuSign Envelope ID: ABAA3237-6002-40,A8.98n4 AST TDET7ABOA

foresee however denominated; and (i) all rights arising out of or associated with any of the

F, “Magento” shall mean the eCommerce platform utilized by Client for its eCommerce website.
G. “Service Fees" shall have the meaning set forth in Section HI of this Agreement.
H. “Services" shall have the meaning sat forth in Section II of this Agreement.

1. Software Development Life Cycle (“SDLC”) shall mean a process for planning, creating,
Wwches and deploying an information system, including, without limitation, Client's eCommerce
website,

J. Statement of Work ("SOW") shall have tha maaning set forth in Section II of this Agreement.

K. “Work Product” shall mean the work product resulting from the Services provided to Client
pursuant to this Agreement, including all intellectual Property incorporated therein, and will be
described in the requirements sessions, BaseCamp requests, ticket submissions, and in any
SOWs executed by both Parties.

He hoqagement and Perfo ce of

A. Statements of Work
ExpandLab shalt provide certain services to Client ("Services") as defined in one or more mutually
agreed-upon project agreeménts between the Parties (‘Statements of Work’ or “SOWs"). Upon execution
by both Parties, a SOW shall become a part of and be Incorporated Into this Agreement.

Each SOW shall contain, to the extent applicable:

a description of the Services to be performed;

a description of any required deliverables;

a description of any Intellectual Property Rights;

any service level agreements;

any associated schedules;

the applicable Service Fees (which shall be on a time and materlais basis unless specified in
the SOW); :

project support hours; and

such additional information as the Parties agrea.

moaogD

ro

in the avent of a conflict between any term of this MSA and the SOW, the terms of tha SOW will prevail.

B, Changes in Scape of Services
If ExpandLab, with the prior written consent of Client, performs work that is not covered by a SOW or that

exceeds the scope of services defined in the applicable SOW (“Changes In Scope”), such work shall be.

deemed services provided pursuant to this MSA for which Client shall compensate ExpandLab pursuant to
this Agreement. Changes in Scope shail be set forth in a separate SOW or Project Change Request and
shall not be effective until executed by both Parties hereto,

C. Duration of Services
The duration of performance of Services under this MSA are govemed by the terms contained in each

sow.

D, Project Management
ExpandLab will Issue project reports with comprehensive status updates on a regular basis, These reports

will indicate the work activities performed and progress achieved against project milestones, ExpandLab
will be using BaseCamp (37 Signals) to manage Client expectations and deliverables at

htto://expandiab,basecam h or such other address as desigated by ExpandLab.

Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 11of 30 Pageid#: 15

 

 

Expandiat, LLG | 296 14th St. NW, Alanta, GA90918 | 888-516-0229 | hallo@expandiah.com

eee Ay ere remem be te ee ee

 

tere

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 12 of 30 Pageid#: 16

preuSign Envelope 1D: ABAAS237-80D2-4048-98n9-Aa {OB TTASOA

E. independent Contractor Relationship
ExpandLab’s relationship with Client will be as an Independent contractor, and nothing in this Agreement
should be construed to create a partnership, joint venture, or employer-employee relationship. ExpandLab
(a) is not the agent of Client; (6) is not authorized to make any commitment on behalf of Client: (c) will not
be entitled ta any of the benefits that Client makes available to its employees; and (d) will be solely
responsible for its own tax returns, As an independent contractor, ExpandLab shall be solely responsible
for any tax consequences of the Service Fees received. If applicable, Client will report amounts paid to
ExpandLab by filing Form 1099-MISG with the Internal Revenue Service, ExpandLab agrees to fill out form
W-9 as required by Client. ExpandLab agrees to accept exclusive liability for complying with all applicable
state and federal tax laws, ExpandLab acknowledges that Client will not withhold or make payments for
social security, unemployment insurance or disability insurance contributions, or obtain workers’
compensation insurance on ExpandLab's behalf.

ExpandLab will perform in accordance with best practice SDLC procedures. The methods that ExpandLab
chooses fo complete any project detailed in a SOW are in ExpandLab’s sole discretion and control. In
completing a project, Expandiab agrees to provide its own equipment, tools, and other materials at its own
expense. :

Hl. Fees an enses

A. Services Fees
During the term of this Agreement, Client shall pay to the Services Provider the fees as set forth in each
SOW (“Service Fees”). ExpandLab shall obtain prior written approval from Glient for all work performed
under this Agreement. ExpandLab shail not receive any compensation, payments or benefits from Client
in addition to those described herein or ina SOW. ExpandLab acknowledges and agrees that the Service
Fees reflect full payment for all hours worked.

B. Payment Terms
ExpandLab shall submit invoices in a timely manner, and In no event shall any invoices be subrnitted later
than thirty (30) days after the completion of Services under any SOW. The Service Fees shail be payable
within thirty (30) days following submission of the invoice. if payment of any invoice is not received timely,

ExpandLab reserves the right to discontinue Services.

in the event of any good faith dispute with regard to a portion of an amount payable, the undisputed
portion shall be paid pursuant fo the MSA, Upon resolution of the disputed portion, any amounts owed to
ExpandLab shall be paid with interest at the rate set forth below accruing from the date such amounts

were originally due.

Late payments of any kind due and payable under this Agreement shall accrue interest daily following the
due date at the lesser of six percent (6.00%) per annum or tha maximum interest allowed by applicable

law,

Cc. Expenses ; ;
Uniess otherwise stated in the SOW, ExpandLab shall be reimbursed by Client for all reasonable

expenses incurred by ExpandLab in the performance of the Services, including, but not limited to,
software extension purchases, travel and lodging expenses, communications charges, and computer time
and supplies. Any such expenses must be agreed to by Client in writing prior to the Incurrance of such

expense.

D. Taxes . .
Client shall be responsible for any sales, use, excise, value-added, services, consumption, and other

taves and duties assessed on the Services provided by ExpandLab to Client.

 

 

Expandiab, LLG | 200 14th St. NW, Allanta, GA 30318 | 888-516-0229 | hallogtexpandiab.cam 4

 

 

ANSARI ° , oe dee vente *t
—€ ~ > eee

 
Case 5:19-cv-00052-EKD Document i-1 Filed 07/18/19

Anau&lan Favelona I 62442997, 29NG Anag naan

pocusign Envelope ID: ABAA3237-80D2-40A8-0883-A341D677A89A

== ExpandLab
—
WV. Intellectual Property Rights

A. Background Technology
As used in this Agreement, the term “Background Technology” means all Intellectual Property
developed by ExpandLab other than in the course of providing Servicas or Work Product to Cifent and all
intellectual Property acquired from third parties or licensed by ExpandLab from a third party that
ExpandLab uses in performing Services under this Agreement or incorporates into Work Product,
ExpandLab will specifically disclose to Client in writing any Background Technology, which ExpandLab
proposes to use or incorporate,

B. Ownership and Assignment of Work Product

_ The Parties hereby acknowledge and agree that all Work Product, exclusive of any Background

Technology, has been specially ordered and commissioned by Client as a work-made-for-hire and Client
shall exclusively own all worldwide right, title and interest thereto. Client shall be considered the author of
the Work Product for purposes of copyright, own all rights in and to the copyright of the Work Product and
shall have the right to register and renew the copyright in the Work Product in its name in ail jurisdictions
throughout the world. If, by operation of law or otherwise, any of the Work Product, including all related
Intellectual Property, Is not owned in its entirety by the Client automatically upon the creation thereof,
ExpandLab agrees to assign and to cause its personnel and contractors to assign, and hereby assigns, to
Client the ownership of such Work Product. ExpandLab represents and warrants that it has the full right
and authority to use, transfer, implement, install, assign, and convey the Work Product to Client.
ExpandLab agrees to execute all documents and instruments reasonably requested by Client to
decument Client's ownership of the Work Producl, provided that Cllent assumes responsibility for legal
and all other costs related to this request,

ExpandLab hereby grants to Client a non-exclusive, transferrable, royalty-free, perpetual, irrevocable,
worldwide right and license under and to the Background Technology for the purpose of utilizing the Work
Product and Services provided by ExpandLab. Nothing in this saction shail giva Client the right to license
or transfer stand-alone Background Technology to third parties.

Upon termination of this Agreement or any SOW, ExpandLab and/or ExpandLab personnel or contractors
shall deliver to Client all Work Product and other information and materials prepared by ExpandLab
and/or ExpandLab’s personnel or contractors or recelved from Client in the performance of the Services,
whether completed or in progress. Reuse of any such Work Product by ExpandLab and/or ExpandLab's
personnel or contractors without written permission by Client is prohibited.

Client acknowledges and agrees that, as a result of furnishing the services as contemplated herein,
ExpandLab may further develop its general knowledge, skills, and experience, Subjact to the terms of this
Agreement, the subsequent use by ExpandLab and Its personnel of such general knowledge, skills, and
experience shall not constitute a breach of this Agreement.

GC. License to or Walver of Other Rights
if ExpandLab has any right to the Work Product that cannot be assigned by ExpandLab, ExpandLab
unconditionally grants to Client during the term of such rights, an exclusive license, with rights to
sublicense, to exercise all rights related to such Work Product. If ExpandLab has any rights to the Work
Product licensed, then ExpandLab waives the enforcement of such rights, and agrees, at Client's request

and expense, to enforce such rights,

D. Trademark Protection
ExpandLab may not use Client’s name or trademarks in advertising, sales promotion, or publicity material

without Client’s prior, written consent.

Vv. Confidential information
Unless authorized in writing by Client, ExpandLab agrees It (a) will not use Confidential Information in a

manner not expressly set forth in this Agreement; (b) will not disclose any such Confidential Information
without first obtaining Client's express written consent, (c) will limit access to Confidential Information to

Page 13 of 30 Pageid#: 17

 

ExpandLab,

OO thee

aeH

 

LLC | 208 74th St. NW, Atlanta, GA 30318 | 888-516-0229 {| hello@expandiab,com

lan ies

 

capa aeer RT

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 14 of 30 Pageid#: 18

pocusign Envelope ID: A8AA3237-80D2-40A8-9863-431 1DE7T7ASDA

ExpandLab personnel to the extent necessary for the performance of its duties under the Agreement; and
(d) will not remove any Confidential Information from Client's premises without Client's written consent,

Vi.

 

A. Indemnification

ExpandLab shall indemnify, defend, and hold harmless Client, its officers, directors, affiliates, employees
and agents (collectively, “Client Indemnitees”) from any and all fiabilities, expenses (including
reasonable attomay's fees, court fees, and experts’ fees), costs, losses, and damages (collectively,
“Indemnified Expenses") that Client Indemnitees may suffer as a result of allegations, claims, demands,
costs, suits, or actions arising out of or relating to the provision of Services or the Work Product by
ExpandLab under this Agreement, including without limitation from any of the following: (i) any allegedly
unauthorized use or infringement of any patent, process, idea, invention, method, trademark, copyright or
device or other Intellectual Property or tangible proprietary right; (ii) any alleged defect in any of the Work
Product; (ji) Expandlab's breach or alleged breach of any of its obligations, representations or warranties
under this Agreement; and (iv) the negligence or willful misconduct of ExpandLab. Client's approvals
under this Agreement shall not relieve ExpandLab of its indemnity or other obligations under this
Agreement.

In addition to ExpandLab’s indemnification obligations set forth above and any other remedies of Client,
should ExpandLab become aware that the Services or the Work Product (or should ExpandLab
reasonably should have been known) may become subject to a claim of infringement, ExpandLab shall
immediately notify Client. in such event, ExpandLab will have the option, in ExpandLab’s reasonable
discretion, to (i) replace any portions of the Services or Work Product; (if) modify the Services, Work
Product, or any portions thereof to make It non-infringing; or (ili) cancel the Services and refund the fees
paid by Client hereunder for the Services.

B. Limitation of Liability
IN NO EVENT SHALL EITHER PARTY'S TOTAL LIABILITY TO THE OTHER PARTY EXCEED THE
TOTAL AGGREGATE SERVICE FEES (EXCLUDING FEES PAID TO THIRD PARTIES) PAID BY
CUIENT TO EXPANDLAB UNDER THIS AGREEMENT AND ANY SOW. NOTWITHSTANDING
ANYTHING TO THE CONTRARY IN THIS PARAGRAPH, THE LIMITATION OF LIABILITY SHALL NOT
APPLY TO EXPANDLAB’S INDEMNIFICATION OBLIGATIONS UNDER THIS SECTION VI.

IN NO EVENT SHALL EITHER PARTY BE LIABLE FOR ANY INDIRECT, SPECIAL, INCIDENTAL OR
CONSEQUENTIAL DAMAGES OR LOSS (INCLUDING DAMAGES FOR LOSS OF BUSINESS, LOSS
OF PROFITS, OR THE LIKE) WHETHER BASED ON BREACH OF CONTRACT, TORT (INCLUDING
NEGLIGENCE), PRODUCT LIABILITY OR OTHERWISE, EVEN IF SUCH PARTY OR ITS
REPRESENTATIVES HAVE BEEN ADVISED OF THE POSSIBLITY OF SUCH DAMAGES,

OTHER THAN AS EXPRESSLY SET FORTH IN THIS AGREEMENT, EXPANDLAB, ITS AFFILIATES
AND ALL OF THEIR OFFICERS, DIRECTORS, EMPLOYEES, SHAREHOLDERS, AGENTS OR
REPRESENTATIVES DO NOT MAKE ANY EXPRESS OR IMPLIED WARRANTIES, CONDITIONS, OR
REPRESENTATIONS TO CLIENT, OR ANY OTHER PERSON OR ENTITY WITH RESPECT TO THE
SERVICES OR OTHER DELIVERABLES PROVIDED HEREUNDER OR OTHERWISE (INCLUDING,
BUT NOT LIMITED TO, ANY THIRD PARTY SOFTWARE OR SERVICES OR SERVICES USED IN
CONNECTION WITH THE SERVICES) REGARDING THIS AGREEMENT, WHETHER ORAL OR
WRITTEN, EXPRESS, IMPLIED OR STATUTORY, WITHOUT LIMITING THE FOREGOING, ANY
IMPLIED WARRANTY OR CONDITION OF MERCHANTABILITY, AND THE IMPLIED WARRANTY OR
CONDITION OF FITNESS FOR A PARTICULAR PURPOSE ARE EXPRESSLY EXCLUDED AND

DISCLAIMED.

 

ExpandLab, LLG | 296 14th St. NW, Alfanta, GA 30318 | 888-616-0229 | Hello@expandiab.com 6

ceva analy etter ate pattems ts RE MRS

-

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 15 of 30 Pageid#: 19

pocuSign Envelope ID: ABAAS237-60D2-40A8-9863-A34 1D677A59A

CG. Representations and Warranties
ExpandLab represents and warrants to Client that:

a. ExpandLab has the experience and skills to perform the Services and create the Work Product

with @ high standard of quality and in a workmantike and professional manner, in accordance with
industry standards:

b. Alt Services and Work Product furnished by ExpandLab will be In conformance with any written
performance criteria agreed upon by both Parties, including but not limited to any executed SOW.

c. ExpandLab has made or shall make all payments, including those required by law, to and on
behalf of all employees and third party contractors ExpandLab uses to perform Services,
ExpandLab has or shall verify its employees ara legally able ta work in the United States;

d. Client will receive good and valid title to all Work Product delivered by ExpandLab to Client under
this Agreement, free and clear of all encumbrances and liens of any type:

e, The Work Product, Services, and the use of Work Product by Client does not and will not infringe
or misappropriate the Intellectual Proparty rights of any third party;

f. ExpandLab’s acceptance of engagement by Client hereunder does not violate and will not violate
any contract or agreement to which ExpandLab is a party and does not or will not result in a
breach by ExpandLab of any covenant of nondisclosure or noncompetition or any other covenant
or agreements owed by ExpandLab to any third party; and

g. ExpandLab shail not outsource or subcontract to any other Party any of its Services for Client
under this Agreement without Client's prior written consent.

Vil. Termination

A. Termination with Cause
Either Party may terminate this Agreement and any SOW if the other Party has breached the Agreement

and fails to cure such breach within thirty (30) days of notice from the other Party, setting forth the nature
of the breach. Client may terminate this Agreement immediately if ExpandLab's breaches any of its duties

under the section titled “intellectual Property Rights”.

B, Termination without Cause
Either Party may terminate this Agreement with sixty (60) days’ written notice, unless otherwise stated in

a SOW. Upon such termination, amounts payable by Client to ExpandLab for Services provided prior to
the termination date will be due to ExpandLab immediately. Client shatl be refunded for any deposit
payment, pre-paid payment, or retainer payments to the extent such payments exceed any amount owed

by Client to ExpandLab upon the termination date.

GC. Return of Property
Upon termination of the Agreement or upon Client's request, ExpandLab will deliver to Client all of Client's

property or Confidential Information.

D. Survival ; ;
Sections IV, V, VI, VILC., and VIN shall survive the termination or expiration of this Agreement,

Vil. General Provisions

A. Governing Laws and Venue

 

 

 

ExpandLab, LLC | 298 14th St. NW, Atlanta, GA 30318 | 888-516-0228 | hello@expandlab.com 7

ee foeht tote imams? peg pe eer in en ee

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 16 of 30 Pageid#: 20

 

poouSign Envelope ID: ABAAS237-6002-4008.9863.A314Da77m59q

 

Any action arising fro i .
giving effect to any conn eeoment will be governed by tha laws of the State of Georgia, without
jurisdiction. Client and ExpandLab aws principles that require the application of the law of a different
courts for Fulton County, Georgia, Consant to the personal jurisdiction and venue in the state and federal

B. Successors and Assigns
respect fo epee pon the Parties hereto and their respective successors in interest, but with ;
shall give Glient written is Agreement is nondivisible, nontransferable, and nonassignable. ExpandLab
agreement shall becom ee of the name and address of any proposed subcontractor and no such
discration. Any such ee fective until Client shall have approved the same in writing, in Client's sole
and Expandt ab shall su contract shall incorporate and be subject to the provisions of this Agreement,

hall have the ci remain responsible for all Services and Work Product provided thereunder. Client
5 ave the right, by written notice to ExpandLab, to assign its rights and/or obligations under this
Agreement to an affiliated company, or to any entity which succeeds to the interests of Client. ExpandLab
may assign its rights and/or obligations under this Agreement to any entity which succeeds to the
interests of ExplandLab, with the prior written consent of Client, which consent shall be in Client's sole

 

G. Severability
if any provision of this Agreement is invalid or unenforceable, the other provisions will be unimpaired and
the unenforceable provision shall be modified so that it is enforceable.

DB. Waiver
Any waiver or failure to enforce any provision will not be deemed a waiver of any other provision or future

waiver of such provision.

E. Entire Agreement
This Agreement (including all related SOWs) is the final, complete and exclusive agreement of the Parties

with respect to the subject matters hereof and supersedes and merges all prior discussions between the
Parties with respect to such subject matter. No modification will be effective unless in writing and signed

by Parties.

F. Force Majeure
if either Party is prevented from completing parformance of any or all of Its obligations under this

Agreement by any cause or causes beyond its reasonable control, including but not limited to acts of God,
acts or omissions of any goverment or any rules, regulations, or orders of any governmental authority or
any officer, department, agency, or instrument thereof, fire, storm, earthquake, accident, acts of the public
enemy, war, rebellion, Intermet brown out, internet virus attack, insurrection, riot, invasion, strikes, or
lockouts, then it shall be excused from further performance on notice to the other Party, stating the reason

for the nonperformance.

G, Non-Solicitation —
Neither Party, nor any its subsidiaries, affiliates, employees, or other agents, will, either directly or
indirectly (i) solicit, entice, or Induce the employment of any employee of the other Party who was
involved in the provision of or receipt of Services under this Agreement during that employee's
employment with the other Party and for a period of six (6) months following the termination of such
. employee's employment with the other Party. In the event a Party solicits or hires the services of any

h, that Party shall pay the other Party, as its exctusive and sole

indi in violation of this paragrap'
ny an amount equal to six (6) months of the individual's total compensation based on the

individual's rate of compensation immediately prior to the breach,

H. Notices demands and other communications shall be validly given if sent by prepaid,

All notices. Fon ied i jer wi i ion to the recipient Party's address
i cartified mail or recognized courier with delivery confirmation to p

reaisietr n the first paragraph of this Agreement, ATTN: LEGAL, unless such Party has notified the

aoe Party of a substitute address In writing, and shall be deemed validly delivered upon the date of

sanding.

Atlanta, GA 30318 | 688-516-0229 | hello@expandiab,com

 

ExpandLab, LLC | 208 14th St, NW,
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 17 of 30 Pageid#: 21

pocuSig

n Envelope ID: ABAA3237-60D2-4048-9863-A34 10677A59A

L Headings
The headings, titles, and subtitles of the Sections of this Agreement are for convenience only and shalt
not be considered as being part of this Agreement and are of no legal effect.

J. Authority :
Each Party represents and warrants to the other that it has full power and authority to enter into
this Agreement and to perform its obligations hereunder including, if necessary, having received authority
from its Board of Directors or Board of Managers.

K. Counterparts; Electronic Signature
This Agreement may be signed in counterparts, each of which will be deemed to be an original as against
any Party whose signature appears thereon and all of which together constitute one and the same
instument. This Agreement will become binding when one or more counterparts hereof, individually or
taken together, will bear the signature of all of the Parties reflected hereon as signatories. A faxed,
emailed, or electronic signature will have the same legally binding effect as an original signature,

[Signatures Appear on Fallawing Page}

 

ExpandLab, LLC | 208 44th St. NW, Atlanta, GA 90318 ] 888-516-0228 |, halla@expandiab.cam

 

RA AUT

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 18 of 30 Pageid#: 22

paadign Envatope 10: ABAAS237-60D240A8-0889-A91 1 Darr ASaA

IN WITNESS WHEREOF, the Parties hereto, each acting with proper authority, have executed this
Master Servicas Agreement, a9 of the Effective Date,

 

 

Mullins Enterprises ExpandLab, LLC
DocaSignmed by: DocuSigned bys
Potrid. Mudlins | Dumais Miu.
Signature . Signature

Patrick Mullins Dennis Ngin

 

 

 

Printed Name Printed Name
Owner coo

Titie Title
12/22/2017 12/10/2017
Date Signed Data Signed

 

 

ExpandLab, LLC | 296 14th St NW, Atlanta, GA 30318 | 888-516-0229 | hello@expandiab.com 10

 

To ht

 

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 19 of 30 Pageid#: 23

pocusign Envelon® 'D: ABAAS2G7:60D9.40A8-op63.A31 ine TASAA

 

   

MYWOODPHOTO

 

 

 

 

 

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 20 of 30 Pageid#: 24

pocusign Envelope {D: A8AAIZ37-H0D2-40A8-5863-A31 1DB77ASSA

STATEMENT OF WORK

This STATEMENT OF WORK (SOW") is entered into between Expanded, “
company with offices at 296 14th Streat NW, Atlanta, GA 36318 (“ExpandLab"
company located at 3236 Mountain Farm Road. Elkton, VA, 22827 (“Client”) as
“SOW Effective Date") pursuant to the Master Services Agreement dated the Nov
between the Parties, the terms of which are incorporated herein by reference.

otherwise defined shall have the meanings as set farth in the MSA.

KEY DELIVERABLES & ASSUMPTIONS

ExpandLab will deliver the Services described below and any changes shall b
Request approved and confirmed in writing by both Parties. ExpandLab will imp

based on the following platform definitions,

 

e

ata

LLG, a Georgia limited Hability
y and Mullins Enterprises, @
of November 47, 2017 (tha
ember 17, 2017 (the "MSA")
Terms used herein and not

e subject to a Project Change
lement the capabilities outlined

cee

 

 

 

 

 

 

 

eCommerce Platform Magento 2.x cee ee
_ Admin Count : Toe ——
i i ~
_ ERP System Integration "Not Applicable
. Estimated Launch TBD (2-4 months from signing)
GENERAL GOALS

The primary goals of this project are:
*
platform

aligns with Client's brand image while delivering a friendly LH/UX

Develop a new eCommerce sinre for wuawnywoodphoto.com using the Magenta 2.x Open Source.

Design/Develop a mabile responsive Magento theme that leverages Magento’s default Luma theme and

 

ExpandLab, LLG | 298 14th St. NW, Atlanta, GA 30918 | BB8-516-0229 | hallo@exparcdia

Shenae Sercctict

b.com,

AMRIT eRerc

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 21 of 30 Pageid#: 25

pasion

Envelope 1p: ABAAIZ37-80D2-40A8-9863-444 1DG77ABGA

PROJECT PHASES

DISCOVERY

During Discovery, the joint project team works to understand project objectives, business processes, Key
performance indicators, organizational impacts and change management requirements. Project team meetings

and discovery sessions are conducted resulting in the definition of an initial project footprint and preliminary
documentation.

ExpandLab will facilitate business Requirements Analysis Session(s) to define and analyze business conditions,
design goals, and features in order to discover the options and recornmendations associated with building a new
responsive theme on the Magento platform. As a result of the session(s), the Client and ExpandLab teams will
have clear written definitions for the following:

The strategic goals of the client and the role of Magento

Departmental considerations, interdependencies and requirements

The overall project footprint and configuration definition

Reporting requirements

The training plan and the role of management in delivering training

Potential phasing considerations and recornmendations in order to stay on track with project timeline
Timelines, roles, key players and key dates associated with the project

More detailed understanding of hours and service fees needed to complete the project

ss 2* 8s @o ee @ 8

Since catalog architecture plays a significant part in driving site user experience, ExpandLab will verify the
catalog adjustments needed fo ensure it follows industry eCommerce best practices and are aligned with
Cent's design goals.

Key Deliverables and Activities:

Site & Features Audit
Requirements Analysis Session(s)
Requirements Review(s)
Estimate & Timeline Validation

- #8 &

ASSUMPTIONS

« Client wil) make key business managers, users and necessary IT resources avallable to participate in
workshops and follow-up conversations during this phase,

e At the conclusion of Discovery, ExpandLab will provide Client with any necessary revisions to the initial
estimate,

 

ExpandLab, LLC { 206 14th St. MW, Atlanta, GA 30318 | 888-616-0229 | hello@expandiad.com

 

     

 

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 22 of 30 Pageid#: 26

OocuSign Envelope IBY APAATSS 024A 9869-4544 DTT ARSA ae .
a= ExpandLab

DESIGN

During Design, the project team works with the information gathered and prepared during Discovery to design
the user flows for responsive design. ExpandLab will create overall conceptual designs for the Client, which will
require written approval before Ul Development begins. ExpandLab will create a prototype of critical path pages
and begin te code Magento templates following thie stage.

Key Deliverables and Activities:

* Leverage UIUX Strategy for an improved Customer Shopping Experience
e. Minimize design and front-end development services by leveraging Magento’s default responsive
theme; Luma.

ASSUMPTIONS

* Members of Client's project team and key stakeholders will be available to participate in critical review
meetings and to provide feedback in a timely manner.

« Client will have up to two rounds of revisions once design has been completed. If additional rounds of
revisions are required, Client understands that this may result in additional budget requested via a
Project Change Request.

 

ExpandLab, LLG { 296 14th St NW, Atlanta, GA 30318 | 888-516-0229 | hello@expandiab.com 4
. Le ON AAR amt AN tA OT eee ete ae tee eae sok . .

 

 

a ech SLL PT I

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 23 of 30 Pageid#: 27

nacusign Envelope ID: ABAA3237-G0D2-40A8-9863-A311D877A59A =. Exnpandlab

DEVELOPMENT

During Development, all elements of the project are brought together into a functional solution. This includes
applicable UI/UX Design, Development, Magento Configuration, Integrations, and Custom Development
required to align the systems with overall functionality, requirements and processes. ExpandLab will collaborate
with the Client’s project team regarding the development and implementation steps for their Magento platform.
Key features and functionality for development are listed below. These features/functionality will be detailed with
solutions upon completion of the Discovery phase.

ExpandLab will conduct multiple iterations of QA and visual QA testing and validation throughout the
Development phase to ensure adherence to requirements. This Includes thorough review of any data Imported
into the system and confirmation of data flow between integrated systems. After all major systems and
processes are successfully QA'd by ExpandLab, ExpandLab will pass front-end web store and 3” party UAT
testing to client for general user acceptance testing to ensure an ideal user experience and appropriate
interface.

Key Features & Functionality for Development

 

 

_ Platform Develop new Magento 2.x Open Source platform ;
_ Transactional Features Products (Customer Experience) ‘
: e Develop functionality to allow customers to upload a photo on the
product page t
o To Validate — allow customers to edit/crop photos that they
upload within the web portal

© To Validate — allow customers to upload photos for plank
products and see where the approximate cut-offs (lines on |
the board) would appear on their photo i
© To Validate ~ allow customers to upload photos onto a
circular/oval shape, showing approximately where photos
willbe cutoff °
o To Validate ~ allow customers to rotate photo
' o To Validate - allow customers to recolor photo to black and
: white
0 To Validate - when a customer uploads a photo for editing;
have the original photo and edited photo available for
production
i © To Validate - do not allow any other photo editing and/or
customization
« Develop functionality to allow customers to input custom text on the
back of their product; with cut-off at 100 characters
© To Validate — allow customers to see their text in a selected
font

 

 

 

Payment
e = Install/configure payment processing (Authorize.Net, Braintree, or
Merchant e-Solutions / Paypal)
e Configure tax rules

Shipping
« Develop functionality to charge rush-processing at Checkout - $XX

Fee added to overall order for rush production
® Configure shipping rules (USPS)

 

Lee

 

 

—
ExpandLab, LLC | 296 14th St. NW, Atlanta, GA 30318 | 888-516-0229 | hello@expandiab.com
a

 

—

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 24 of 30 Pageid#: 28

pocudign Envelope 1D: ABAAS237-6002-40A8-9n69.A91 1DE7TASGA, =

ee ee PO ee Sak on HY a nee ae bee mene i

Order Processing i
* Configure transactional emails :

|
|

een snr mn ennnrnnncat octet rtd, eect gemtetine eee peace vate rt ne He

 

. Content & Data e Configure functionality to enable customer reviews

e — Instali/configure functionality to share products (facebook,
' Instagram, and email)

_ Other Integrations ®  Install/Configure shipment management solution (e.g. ShipStation or
| ShipWorks)

| e Install/Configure Google Analytics

* — Install/Configure email management solution (e.g. MailChimp or

 

 

 

 

Springbot)
t
Other Customizations e® Not Applicable
-
Other Development s Establish development, staging, and product environments

 

ASSUMPTIONS

e Members of Client’s project team and key stakeholders will be available to participate in critical review
meetings and to provide feedback in a timely manner.

» Ul Development for up to 3 responsive breakpoints (Desktop, Tablet, and Mobile Smart Phones —
Portrait Orientations & Landscape) will be planned Into the project.

*® Bootstrap Framework will be ieveraged to build the site in responsive.

Browser compatibility with IE, Chrome, Firefox, Safari, iOS — Safari, and Android — Native Browser &

Chrome will be planned into the project.
Client is responsible for providing photography, content, and design assets in the format and resolutions

needed.

Client is responsible for providing, formatting, and setting up catalog data to ExpandLab’s specifications,
ExpandLab will provide a base template and guidelines to begin the data setup effort.

Client is responsible for verifying functionality of all third-party modules (extensions).

 

 

et eee

ExpandLab, LLC | 296 44th St. NW, Atlanta, GA 30318 | 888-516-0229 | hello@expandlab.com

 

 

sa eens

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 25 of 30 Pageid#: 29

poousign Envelope ID: ABAA3237-60D2-40Ag

9863-434 {DB77ASSA aR a
a=, ExpandLab
DEPLOY

The goal of Deploy is to perform use ‘ j duction or live"

, r acceptance testing (UAT) and push our solution to a production oF live
environment. Deployment is the final phase of the core project. Customer sign-off of the solution signifies the
completion of the project. Exparidlab will collaborate with the Client's project team regarding the development
and implementation steps for their Magento platform.

Key Deliverables and Activities:
e QA Test Pian:
© Local (Developers Test)
o SEO Audit and Migration Redirects
© Development (Intemal QA)
* Test will be conducted on the following devices and browsers:
* Microsoft Windows Desktop
© Microsoft Internet Explorer — 11
o Microsoft Edge — (Latest Version)
a Mozilla Firefox — Current Version (61)
o Google Chrome -- Current Version (56)
* Mac OS X Desktop
o Safarl— 10.x
o Mozilla Firefox — Current Version (51)
& Goagle Chrome — Current Version (87)
* Tablets
o OS Safari on iOS 9.x
a Chrome (Latest Version) on Android 6.x
® Mobile
o iOS Safari on iOS 9.x
o Chrome Browser on IOS 9.x .
o Chrome Browser (Latest Version) on Android 6.x Marshmellow
o Staging
» UAT performed by ExpandLab
» UAT acceptance testing by Client
o Soft Launch
o Hard Launch (Production)
o Post Deployment (Bug Fixes & Support)
« Customer Sign-Off

 

Expandiab, LLC | 296 14th St NW, Atlanta, GA 30318 | 688-516-0229 | hello@expandiab.com
F é

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 26 of 30 Pageid#: 30

uign Envelope ID: A8AA3237-60D2-40A8.0863-4 2 PND C
bod 311D677A59A == Expand lab
ae.

PROJECT MANAGEMENT

ExpandLab’s project methodology includes planning and specifications monitoring to ensure the capabilities of
the application support the client's business goals and vision. Planning includes education of the project team,
timeline definition, development af the project plan and astablishing roles and responsibilities for team members.

Project Management Services are delivered throughout the project lifecycle and Include continuous application
of best practices during meetings, phone calls, and scheduled status updates. Additional activities performed
under this urnbrella include solutions research and the necessary conversations between internal and extemal
project teams to achieve defined goals. A Project Manager Is assigned to every project as the primary point of
content to ensure the project remains on schedule, within budget, and that all appropriate Client expectations
are met.’

The end users and management will also be trained on any modifications to the Catalog made to accommodate
ta the new responsive theme. ExpandLab anticipates providing general training to up te five (5) admin users.

Key Deliverables and Activities:

Checkpoint and Status Calls

Ongoing Modifications to Project Plan
Ongoing Project Team Communication
Ongoing Project Team Sprint Planning

Client and Internal Project Reports Preparation
Weekly Reports on Budget & Hours

eee 88 @

ASSUMPTIONS

® Client will provide a dedicated Project Manager as part of the Client's Project Team that will work in

conjunction with the ExpandLab Project Manager. .
® Client will provide an Executive Sponsor as a point of contact for support, necessary decisions and

escalations.

 

ExpandLat, LLC | 298 44th St. NW, Atlanta, GA 30318 | 888-546-0229 | hella@expandiab.com
Lats, § 14in 5

 

 

 

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 27 of 30 Pageid#: 31

pacusign Envelope ID: ABAAS237-60D2-40A8-9863-4311D677A50A eam, E nal

PROJECT GENERAL ASSUMPTIONS

e Magento Open Source v2.x will be the platform for development

e This estimate assumes only a high level of detail in regards to integration with the specified systems. If
further integration features are required, such as differing synchronization logic or development, this will
require a review of the estimate and a possible Project Change Request.

. Client and/or 3" party vendor(s) will provide documentation for integration and is responsible for any
modifications to such integrations.

° cos will execute contract and enable ExpandLab to begin scheduling this project by December 42,

PROJECT HOURS AND COST SUMMARY
The following table summarizes the projected hours and estimated total cost contained in this SOW.

 

 

 

 

 

 

 

 

 

 

 

 

Discovery 24 $160 $3,600
Design - 20 $150 $3,000
Development 330 $150 $49,500
Deploy te Tbe P50 $12,300
TOTAL > | _456_ | $150 "_ $68,400

eet

ExpandLab, LLC | 296 14th St. NW, Atlanta, GA 30318 | 888-546-0229 | hello@expandlab.com
a

 

 

en

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 28 of 30 Pageid#: 32

pocusign Envelope ID: ABAA3237-6002-40AR.og69.094 4087 TAEDA = ExpandLab !

ea,
——

TERMS AND FEE SCHEDULE !

 

PROJECT FEES

The preliminary estimated project fee for the engagement as stated above is based on best available current
information. This represents ExpandLab's best estimation of the effort required based upon discussions to date
and only considers those Services in this SOW. This estimation gives Client an indication of the effort required;

however, Client will be invoiced for the actual number of hours of effort required, which may be more or less
than estimated.

Based on the assumptions contained in this Statement of Work, ExpandLab shall provide the Services
described in the SOW and invoice Client as follows:

Q A (evergreen) retainer deposit of $3,600 will be invoiced upon execution of this SOW and
Payable on or before the kick-off meating ("Retainer’}.

Qo Monthly Invoices equal to the amount of hours the previous month times the hourly rate will be
sent by the 5th of the current month and are due Net 30 days from the date of the invoice. The
final invoice will be modified to equal the outstanding budget minus the initial retainer
deposit. Invoices are due Nat 60 days fram the date of the invoice.

if the project becomes inactive, unused hours will expire twelve (12) months from the SOW Effective Date
unless otherwise specified in writing,

OUT OF SCOPE & ADDITIONAL SERVICES

Any Changes in Scope or cost shall be documented in writing among the Parties. Changes in Scope May affect
the completeness of deliverables and/or extend the effort and may result in additional costs to Client. In addition,
dependencies, which are not met and aré not the responsibility of ExpandLab, may result in additional costs.
Out-of-scope services requested by Client shall be set forth in a separate SOW or Project Change Request and
shall not be effective until executed by both Parties hereto. Out-of-scope services shall be billed according to the
rate schedule above,

PROJECT RELATED EXPENSES

Client shall reimburse the actual and reasonable out-of-pocket expenses of ExpandLab associated with travel
related to the Services hereunder and such other actual and reasonable out-of-pocket expenses, provided such
expenses were approved in advance by Client. Out of town travel, airfare, hotel, ground transportation and meal
expenses will be billed at cost in accordance with Client's Travel and Expense Policy. Mileage and tolls shail be
invoiced at |RS-approved rates, All other project expenses shall be billed at cast to Client in accordance with
Client's policies.

TERM & TERMINATION

This SOW shall commence on the SOW Effective Date and shail continue until such time as ExpandLab has
completed the Services in accordance with this SOW. This SOW, and ExpandLab's Services and project fees
hereunder, may be terminated by Client for any reason or no reason at all upon thirty (30) calendar days’ prior
written notice to ExpandLab. Upon such termination, amounts payable by Client to ExpandLab for Services
Provided prior to the termination date will be due to ExpandLab immediately. Client shall be refunded for any

deposit payment, pre-paid payment, or retainer payments to the extent Such payments exceed any amount
owed by Client to ExpandLab upon the termination date.

~
Exnandish, LLG | 256 44th St. NW. Ailanta. GA S0a18 | s8B-516-0259 | hedotexnandiab.com

 

 

40

 

 

 
Case 5:19-cv-00052-EKD Document i-1 Filed 07/18/19

pocuSign Envelope ID: ABAAS237-60D2-40AR. 9863-491 IDATTASDA,

PURCHASE ORDER

To be determined by client. A purchase order may be created if required,

CLIENT CONTACT INFORMATION

Page 29 of 30 Pageid#: 33

Expand_ab

ins

All invoices for project fees and reimbursable travel expenses shall be sent via email to:

PRIMARY PROJECT CONTACT REPRESENTATIVE

Name

Address

City, State/Province
Country

Zip/Mait Gade
Telephones

Email Address

Patrick Mullins
402 5th Street
Grottoes, Virginia
USA

22827

5408302183

mull inspwagmail.com

ACCOUNTS PAYABLE CONTACT

Name

Address

City, State/Province
Country

Zip/Mail Code
Telephone

Email Address

Patrick Mu1Tins
402 5th Street
Grottoes, Virginia
USA

22827

5408302183

mut Tinspwagmai] cont

 

 

ExpandLats, LLC | 296 14th St. NW, Atlanta,

GA 30318 § 888-616-0229 | halla@expandiab.com

 

 

oe at

we TS Bn TE nner ee

"4

 
Case 5:19-cv-00052-EKD Document 1-1 Filed 07/18/19 Page 30 of 30 Pageid#: 34

pecusign Envelope ID: ABAA3237-60N2.4049.5969 AST OBTRASSA ‘eet 7 .
c= Expandlab

SIGNATURE

By the signatures below, the Parties, by their authorized representatives, agree to the terms and conditions as
stated herein and the MSA as af tha SOW Effectiva Date,

 

 

 

 

 

ACCEPTED BY:
Mullins Enterprises ExpandLab, LLC
DocuSigned by: Docesigned by:

P. atrick Mullins | Denis Nyu.
Signature Signatura :
Patrick Mullins Dennis Ngin
Printed Name Printed Name
owner coo
Tithe Title
12/22/2017 12/10/2017 _
Date Signed Date Signed

Please return ALL PAGES of this Statement of Work via one of the following:

By e-mailto: | dennis@expandiab.com
By mail to: ExpandLab, LLC
PO Box 20118
Atlanta, GA 30325
Attn: Contracts Administrator

 

 

Expandiab, LLC | 296 14th St. NW, Atlanta, GA 30318 | 888-516-0229 | hallo@expandiab.com 12

 

wert eee seep nee

er

 

 

pebestane ER EE =o 7 , Tt TSE ST a a ae raat
eee FP ¥ vs ~~ poe He 4 tems a ot Ah ae atm onsen
